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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   REBECCA FIELD EMERSON,                                     CIVIL ACTION

   v.                                                         NO. 21-3096

   STERN & EISENBERG, P.C.

                                                     ORDER

         AND NOW, this 17th day of October, 2022, it is hereby ORDERED that:

    1. The Defendant’s Motion to Dismiss as to Counts III and IV, Plaintiff’s claims of age

         discrimination, is DENIED;

    2. The Defendant’s Motion to Dismiss as to Counts V and VI, Plaintiff’s claims of disability

         discrimination, is DENIED;

    3. The Defendant’s Motion to Dismiss as to Counts I and II, Plaintiff’s claims of sexual

         orientation discrimination, is GRANTED without prejudice and with leave to amend

         within fourteen (14) days; and

    4. The Defendant’s Motion to Dismiss as to Counts VII and VIII, Plaintiff’s claims of

         gender discrimination, is GRANTED without prejudice and with leave to amend within

         fourteen (14) days.



                                                      BY THE COURT:

                                                      /s/ MICHAEL M. BAYLSON

                                                      MICHAEL M. BAYLSON, U.S.D.J.

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